____ FILED ___ ENTERED
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                             1:20-mj-3211 to -3214 TMD
12:49 pm, Dec 21 2020
AT BALTIMORE
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND
BY ______________Deputy
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A3, for the items described above and in Attachments B1 and B2, and authorizing the seizure and

examination of any such items found therein.

       29.     I anticipate executing the warrant to search the SUBJECT ACCOUNT under the

Electronic Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and

2703(c)(l)(A), by using the warrant to require Google to disclose to the government copies of the

records and other information (including the content of communications) particularly described in

Attachment A3. Upon receipt of the information described in Attachment B2, government­

authorized persons will review that information to locate the items described in the Attachment.

       30.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       31.     Because the warrant will be served electronically on Google who will then compile

the requested records at a time convenient to them, reasonable cause exists to permit the execution

of the requested warrant at any time in the day or night.




                                                 Tucker Kleitsch
                                                 Special Agent
                                                 U.S. Capitol Police


Affidavit submitted by email and attested to me as true and accurate by telephone consistent
with Fed. R. Crim. P. 4(d), 4.1 and 4l(d)(3) this __ day of December, 2020



The Honorable Thomas M. DiGirolamo
United States Magistrate Judge



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